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                                   STATEMENT OF FACTS

        On January 6, 2021, I was on duty and performing my official duties as a Detective with
the District of Columbia Metropolitan Police Department (MPD), specifically assigned to the Mass
Processing center. I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in
the Senate chamber.

        With the joint session underway and with Vice President Mike Pence presiding, a large
crowd gathered outside the U.S. Capitol. Temporary and permanent barricades surround the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside. At approximately
2:00 p.m., certain individuals in the crowd forced their way through, up, and over the barricades
and officers of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the
building. At such time, the joint session was still underway and the exterior doors and windows of
the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police attempted
to maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m.,
individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows.
Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the session resumed.

        District of Columbia Mayor Muriel Bowser declared a public emergency in the District of
Columbia (Mayor’s Order 2021-001, pursuant to 24 DCMR § 2203.2.), which resulted in a
District-wide curfew commencing at 6:00 p.m. on Wednesday, January 6, 2012 and ending at 6:00
a.m. on Thursday January 7, 2021.

        At approximately 9:20 p.m. MPD officers made contact with a group of individuals to
include Joshua PRUITT in the 1000 block of 14th St. NW, Washington, D.C. MPD Inspector J.
Glover issued at least three warnings for PRUITT and the other individuals to disperse and go
inside pursuant to the curfew. PRUITT and others did not comply and were then arrested pursuant
to the curfew order.

       After PRUITT was arrested and while being processed at the Mass Processing Center,
MPD Investigator Emma Hicks noticed that PRUITT appeared to be an individual that Investigator
Hicks observed in an open source image (currently on The Washington Post website) unlawfully
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entering the United States Capitol earlier in the day. Upon review of the image, we confirmed that
PRUITT appear to be the same individual depicted in the photograph, as he was wearing the same
clothing, had the same facial features, hair style, facial hair, and tattoo. MPD Investigator Hicks
and I proceeded to interview PRUITT.

        We issued PRUITT his Miranda warnings and at approximately 12:16 a.m. on January 7,
2021; PRUITT waived his Miranda rights and elected to speak to us. During the interview,
PRUITT identified himself as the person depicted in the photograph and stated that he entered the
United States Capitol on January 6, 2021, after others had breached the Capitol. PRUITT further
stated that while inside the Capitol, he did not engage in any unlawful activity and was only
attempting to de-escalate others who had entered the Capitol.

         I submit that there is probable cause to believe that PRUITT violated 18 U.S.C. § 1752(a),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; (3)
knowingly, and with the intent to impede or disrupt the orderly conduct of Government business
or official functions, obstruct or impede ingress or egress to or from any restricted building or
grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a restricted
building includes a posted, cordoned off, or otherwise restricted area of a building or grounds
where the President or other person protected by the Secret Service is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.


                                                     _________________________________
                                                     DETECTIVE YAROSLAV BABICH
                                                     METROPOLITAN POLICE
                                                     DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone, this
7th day of January, 2021.                                                 G. Michael Harvey
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                                                     ___________________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
